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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                Cr. No. 1:21-cr-41-JL-05/06
                                          )
NOBODY                                    )
_________________________________________ )


                                 PRAECIPE FOR WARRANT

       The Clerk of said Court will issue a warrant, an Indictment against the above-named

defendant having been filed in the above-entitled case on the 15th day of March, 2021.

       This 15th day of March, 2021.

                                                    JOHN J. FARLEY
                                                    Acting United States Attorney


                                                    By: /s/ Georgiana L. MacDonald
                                                       Georgiana L. MacDonald
                                                       Assistant U.S. Attorney


WARRANT ISSUED: ______________________
